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UNITED STATES DISTRICT COUR U.S. DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA cAcTERN DISTRICT OF LOUISIAN/

IN RE: FEMA TRAILER MDL NO. 1873
FORMALDEHYDE PRODUCTS SECTIONN MAD OCT 15 2010
LIABILITY LITIGATION

THIS DOCUMENT PERTAINS TO LORETTA G. WHYTE

Civil Action No. 09-7842 See TRA ELHARDT CLERK
Jeanell Barnes, et. al.
Vs.

Lakeside Park Homes, Inc., et al.

JURY DEMANDED

CERTIFICATE OF COMPLIANCE OF PRETRIAL ORDER NO. 55

Plaintiffs hereby request the Clerk of the Court issue:summons in the above-
referenced matter. All parties have been matched to a manufacturer and contractor.

Respectfully submitted,

/s/ Robert C. Hilliard

ROBERT C. HILLIARD

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ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE
| hereby certify that the above and foregoing pleading was served on all counsel

of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this October 11, 2010

/s/ Robert C. Hilliard

ROBERT C. HILLIARD
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Summons to be issued to the following Defendants:

Lakeside Park Homes, Inc.
Bechtel National Inc.

CH2M Hill Construction, Inc.
Fluor Enterprises, Inc.

Shaw Environmental, Inc
